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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X      Civil Action No.
JN CONTEMPORARY ART LLC,

                                           Plaintiff,                    COMPLAINT
                                                                         (Jury Trial Demanded on all
                 -against-                                                non-equitable claims)

PHILLIPS AUCTIONEERS LLC,

                                           Defendant.
------------------------------------------------------------------X

        Plaintiff JN CONTEMPORARY ART LLC ("JNCA" or "Plaintiff'), by its attorney,

AARON RICHARD GOLUB, ESQUIRE, P.C., as and for its complaint against Defendant

PHILLIPS AUCTIONEERS LLC ("PA" or "Defendant"), alleges as follows:

                                              THE PARTIES

                 1.      At all relevant times, Plaintiff was and is a domestic limited liability

company duly organized under the laws of the State of New York, with an office located at 980

Madison Avenue, New York, New York 10075.

                 2.       Upon information and belief, at all relevant times, Defendant was and is a

foreign limited liability company duly organized under the laws of the State of Delaware and

upon information and belief is authorized to conduct business in the State of New York, with its

principal place of business located at 450 Park Avenue, New York, New York 10022.


                                             JURISDICTION

                 3.      This is a civil action over which this Court has original jurisdiction under

the provisions of 28 U.S.C sec. 1332(a)(l) the diversity jurisdiction statute. Complete diversity

of citizenship exists between all proper parties to this action.
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                4.     Plaintiff, a New York limited liability company, is a citizen of New York,

asserts claims arising from a breach of contract against Defendant, which is a limited liability

company incorporated in the State of Delaware. Upon information and belief, none of the

members of Defendant are domiciled in the State of New York. Complete diversity exists

between the parties in this action.

                5.     This Complaint seeks equitable and injunctive relief and alternatively,

inter alia, compensatory damages believed to be in excess of USD $7,000,000.00 (USD seven

million dollars) exclusive of costs, interest, consequential and incidental damages related thereto.

Accordingly the amount in controversy is in excess of the statutory minimum of seventy-five

thousand dollars ($75,000.00).


                                         BACKGROUND

                6.     Plaintiff is an art gallery in the business of buying, selling and exhibiting

works of art.

                7.     Defendant is an auction house in the business of, inter alia, taking works

of art on consignment for public or private auction.

A.     The Basquiat Guarantee Agreement

                8.     Plaintiff and Defendant entered into an agreement, exclusively drafted by

Defendant and dated June 27, 2019 ("Basquiat Guarantee Agreement") concerning a work of art

described as "Untitled, Executed in 1981" by the artist Jean-Michel Basquiat ("Basquiat

Painting").

                9.     The very first paragraph of the Basquiat Guarantee Agreement provides:




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               "Conditional upon signature by you [Plaintiff] of the Consignment
               Agreement with Guarantee of Minimum Price in respect of the work by Rudolf
               Stingel, Untitled, 2009 (Contract Number 04NYD752) and conditional upon the
               above mentioned Property [Rudolf Stingel, Untitled, 2009] being offered for
               sale with a commitment by Phillips to pay the Seller [Plaintiff] a Guaranteed
               Minimum you [Plaintiff] agreed that you will provide a third-party
               guarantee obligation ('Guarantee Obligation')" (first paragraph) (emphasis
               supplied).

               10.    The Basquiat Guarantee Agreement further provides, inter alia, that

Plaintiff must submit an irrevocable bid for the Basquiat Painting in the sum of GBP

£3,000,000.00 (three million pounds sterling), plus pay all applicable fees and premium, at the

June 27, 2019 auction, as follows:

               1.     "You [Plaintiff] agree that in accordance with the terms of this
                      Agreement, you will have the obligation to Phillips to buy the Property
                      [Basquiat Painting] for GBP 3,000,000 (three million pounds sterling)
                      plus full standard buyer's premium ('Buyer's Premium') and any
                      applicable Artist Resale Royalty ("ARR"), VAT and import duties (the
                      'Guarantee Obligation')" (par. 1);

               11.    "You agree to complete and submit to Phillips an irrevocable bid (the
                      'Irrevocable Bid') on the Property at the Auction in the amount of
                      GBP 3,000,000 (three million pounds sterling) or, if you fail to submit
                      such bid, we will be entitled to record the Irrevocable Bid in the
                      auctioneer's book and enter the bid on your behalf at the above amount"
                      (par. 2); and

              111.    "You agree that the Irrevocable Bid is submitted on the understanding
                      that it may not be revoked, amended or withdrawn." (par. 3).

B.     Plaintiff Fully Performed The Basquiat Guarantee Agreement

              11.     The Basquiat Painting was Lot no. 19 in Defendant's 20th Century &

Contemporary Art Evening Sale, held on June 27, 2019 in London, England. Plaintiff fully

performed the Basquiat Guarantee Agreement and submitted an irrevocable bid in the sum of

GBP £3,000,000.00 (three million pounds sterling) at Defendant's June 27, 2019 auction.

Another bidder then submitted a higher bid in the sum of GBP £3,200,000.00 (the "Basquiat




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Hammer Price") and the Basquiat Painting was sold to the higher bidder. The buyer also paid

Defendant additional costs and a fees, and the total received by Defendant from the buyer of the

Basquiat Painting was GBP £3,802,000.00.

               12.      Upon information and belief, at the time of the auction, the Basquiat

Painting was owned by Plaintiff or one of its two owners Leonid Friedland ("Friedland"). That

means that Plaintiff or Friedland received the !}_ntire sum of GBP £3,802,000.00 without paying

anything to a consignor. If Plaintiff had not bid at the auction, upon information and belief, no

other bidder would have participated in the auction of the Basquiat Painting and it would not

have sold for the total Hammer Price plus the buyer's premium totaling GBP £3,842,000.00 of

which Defendant received GBP £3,802,000.00.

               13.      As a result of Plaintiffs full compliance of its obligations pursuant to the

Basquiat Guarantee Agreement, Defendant and/or Friedland received the proceeds of the auction

with costs and a buyer's premium fee for a total sum of GBP £3,802,000.00.

C.     The Stingel Consignment With Guarantee Agreement

               14.      An agreement, also exclusively drafted by Defendant and also dated June

27, 2019, was entered into between Plaintiff and Defendant, titled "Consignment Agreement"

("Stingel Consignment With Guarantee Agreement"). Pursuant to the Stingel Consignment With

Guarantee Agreement, Plaintiff consigned a work of art titled "Untitled 2009" by Rudolf Stingel

(the "Stingel Work").

               15.      Plaintiff and Muses Funding I LLC ("MFI") executed a Loan and

Security Agreement, dated as of December 27, 2019 (the "Loan and Security Agreement"),

pursuant to which Plaintiff granted MFI a first-priority lien in the Stingel Work. The Stingel

Consignment With Guarantee Agreement was amended pursuant to an Amendment To




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Consignment Agreement dated as of December 27, 2019 ("Amendment") between Plaintiff,

Defendant and MFI. Pursuant to the Amendment, Plaintiff acknowledged that MFI is a secured

party with, inter alia, a security interest in all of Plaintiff's rights to the Stingel Work. Defendant

is well aware of the Loan and Security Agreement and that MFI has a security interest in all of

Plaintiff's rights to the Stingel Work.

                  16.    The Stingel Consignment With Guarantee Agreement provides, inter alia,

that Defendant guarantees that Plaintiff shall receive at least USD $5,000,000.00 (USD five

million dollars), with respect to the sale of the Stingel Work ("Guaranteed Minimum") (par. 11), 1

which shall be offered for sale in New York in Defendant's major spring 2020 evening auction of

20th Century & Contemporary Art, then scheduled for May 2020 (par. 6(a)).2

                 17.     The Stingel Consignment With Guarantee Agreement also provides, inter

alia, the following:

1   Paragraph 11 provides:

          "11. GUARANTEE OF MINIMUM PRICE

          (a) Subject to: (i) confirmation by Phillips following physical inspection of the Property
              that it is in excellent condition; and (ii) any applicable withdrawal or termination
              provision set forth under this Agreement, Phillips guarantees that you shall receive at
              least USD $5,000,000 (five million United States dollars), with respect to the sale of
              the Property [the Stingel Work] (the 'Guaranteed Minimum')."
2
    Paragraph 6(a) provides in pertinent part, the following:

          "6. PRE-SALE ACTIVITIES

          (a)    The Property shall be offered for sale in New York in our major spring 2020
                 evening auction of 20th Century & Contemporary Art currently scheduled for
                 May 2020. Subject to the foregoing, we have the sole right in our reasonable
                 discretion, and as we deem appropriate: (i) to select, change or reschedule the
                 place, date and time for the auction but anv change to a later date titan Mav
                 2020 would be subject to )'OUT' prior written consent" (emphasis supplied) (par.
                 6(a)(i)).


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                        1.     Plaintiff shall receive 80% of the amount by which the final bid
                               price on the Stingel Work (the "Hammer Price") exceeds the
                               Guaranteed Minimum (par. 12(b)3 and par. 2);

                        ii.    Defendant shall receive 20% of the amount by which the Hammer
                               Price exceeds the Guaranteed Minimum (par. 2);

                        111.   The Stingel Work shall be offered for sale in New York in
                               Defendant's major spring 2020 evening auction of 20th Century &
                               Contemporary Art, scheduled for Mav 2020 (par. 6(a))-See
                               footnote 2 quoting par. 6(a)(i);


3
  The Stingel Consignment With Guarantee Agreement contains two paragraph 12's. One is
titled "Settlement" and the other is titled "Termination." The paragraph 12(b) referred to in this
paragraph 17(i) refers to the paragraph 12 titled "Settlement."

Paragraph 12(b) Titled "Settlement" as amended by the Amendment, provides:

        "(b) If the Property is sold in the Auction and the Hammer Price is equal to or exceeds
       the Guaranteed Minimum, then Phillips or one of Phillips' affiliated companies will pay
       to you (i) the Guaranteed Minimum no later than two (2) Business Days after Phillips
       receives the purchase price in full cleared funds from the buyer of the Property (in an
       amount equal to the Guaranteed Minimum) and (ii) (if the Hammer Price exceeds the
       Guaranteed Minimum) the Seller's Overage Portion within two (2) Business Days after
       Phillips receives the Seller's Overage Portion (or any partial payment in respect thereof)
       from the buyer of the Property in full cleared funds (the Guaranteed Minimum plus the
       Seller's Overage Portion will be considered the Net Sale Proceeds for purposes of this
       Agreement)."

Paragraph 2 provides:

       "2. COMMISSION
       For our services, we will receive and retain from the proceeds of the sale of the Property
       (a) a commission from you in the amount equal to twenty percent (20%) of the amount by
       which the final bid price on the Property (the 'Hammer Price') exceeds the Guaranteed
       Minimum (as such term is defined in Paragraph 1 l(a) below): and (b) a commission from
       the buyer of each Lot sold, which shall be calculated as a percentage of the Hammer
       Price, as set forth in the Conditions of Sale printed or referred to in the auction catalogue
       and published at www.phillips.com (the 'Buyer's Premium')."

"Overage" is defined as "the amount by which the Hammer Price of the Property exceeds the
Guaranteed Minimum."

"Seller's Overage Portion" is defined "the Overage less the commission payable by you pursuant
to Paragraph 2(a) above."



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                       IV.     Defendant may select, change or reschedule the place, date and
                               time for the auction but a1lv change to a later date than May 2020
                               is s11hiect to Plaintiff's prior writte11 consent -See footnote 2
                               quoting par. 6(a)(i);

                       v.      Paragraph 17(b) provides: "(b) No term of this Agreement shall be
                               amended, supplemented or waivetl unless each ofus has agreed
                               to do so ill writillg;"

                       VI.    "In the event that the auction is postponed for circumstances
                              beyond our [Defendant] or your [Plaintiff] reasonable control,
                              including, without limitation, as a result of natural disaster, fire,
                              flood, general strike, war, armed conflict, terrorist attack or nuclear
                              or chemical contamination, we may terminate this Agreement with
                              immediate effect. In such event, our [Defendant] obligation to
                              make payment of the Guaranteed Minimum shall be null and void
                              and we shall have no other liability to you [Plaintiff]." (par.
                              12(a)).4
D.     The Legal Relationship Between The Basquiat Guarantee Agreement
       and the Stingel Consignment with Guarantee Agreement

               18.     Pursuant to the express terms of the first paragraph of the Basquiat

Guarantee Agreement (see par. 9 above), the Stingel Consignment With Guarantee Agreement

and the Stingel Consignment With Guarantee, both executed on June 27, 2019, were

consideration for each other. Plaintiff would not have entered into the Basquiat Guarantee

Agreement unless Defendant entered into the Stingel Consignment With Guarantee Agreement.

E.     Defendant Unlawfully Terminated The Stingel Consignment
       With Guarantee Agreement

               19.     Until in or about mid-May, 2020, Defendant prominently used the image

of the Stingel Work on its website to advertise its Contemporary Art evening auction. The

Stingel Work was the only work of art which Defendant repeatedly used to advertise its

Contemporary Art evening auction.


4
 The paragraph 12(a) referred to in this paragraph 17(vi) refers to the paragraph 12 titled
"Termination" in the Stingel Consignment With Guarantee Agreement.



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               20.     In or about the beginning of May, 2020, Defendant advised Plaintiff that it

was rescheduling the May 2020 auction for the end of June, 2020. Defendant rescheduled the

May 2020 auction to June 2020 without Plaintiff's written consent as expressly required by

Paragraphs 6(a)(i) and 17(b) of the Stingel Consignment With Guarantee Agreement.

Thereafter, Defendant again postponed the June 2020 auction to July 2, 2020 �vitltout Plaintiffs

written consent.

               21.     Paragraph 17(d) of the Stingel Consignment With Guarantee Agreement

provides in pertinent part (the "Notice Provision"):


                      "(d) . . . Phillips shall send notices to you at the address listed on the first
                      page of this Agreement. .. Notices sliall be deemed to have been give,z
                      five (5) calendar davs after mailiug to the address referred to above or
                      within one{]) busilless dav o{delivery by ha11d, email, or facsimile."
                      (emphasis supplied).

               22.     On May 30, 2020, Friedland sent an electronic message to Plaintiffs

Manager Joseph Nahmad via the computer app known as 'WhatsApp' which contained an image

of page 6 of the Stingel Consignment With Guarantee Agreement containing, inter alia, the

following excerpt from Paragraph 12(a) (titled "Termination") of the Stingel Consignment With

Guarantee Agreement:


               "(a) In the event that the auction is postponed f or circumstances beyond our
               or your reasonable control, including, without limitation, as a result of natural
               disaster, fire, flood, general strike, war, armed conflict, terrorist attack or
               nuclear or chemical contamination, we may terminate this Agreement with
               Immediate effect. In such event, our obligation to make payment of the
               Guaranteed Minimum shall be null and void and we shall have no other liability
               to you."

              23.     On June 1, 2020, Friedland sent another electronic message to Mr.

Nahmad via WhatsApp. Friedland attached to the WhatsApp message an unsigned draft of a




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letter ("Unlawful Termination Letter"), in violation of the Notice Provision in the Stingel

Consignment With Guarantee Agreement.

               24.     The Unlawful Termination Letter purports to unlawfully terminate the

Stingel Consignment With Guarantee, as follows:

               " Dear Mr. Nahmad,

               As you are well aware, due to the COVID-19 pandemic, since mid-March 2020
               the New York State and New York City governments placed severe restrictions
               upon all non-essential business activities. Certain government orders were
               invoked that applied to and continue to apply to Phillips' business activities.

               Due to these circumstances and the continuing government orders, we have been
               prevented from holding the Auction and have had no choice but to postpone the
               Auction beyond its planned May 2020 date.

               We are hereby giving you notice with immediate effect that: (1) Phillips is
               invoking its right to terminate the Consignment Agreement; (2) Phillips'
               obligation to make payment of the Guaranteed Minimum to you for the Property
               is null and void; and (3) Phillips shall have no liability to you for such actions that
               required under applicable governing law.

               Our rights to act are as mutually agreed by you and us and are clearly set out in
               paragraph 12 of the Consignment Agreement (titled "Termination") which reads
               as follows:

                       " (a) In the event that the auction is postponed for circumstances
                      beyond our or your reasonable control, including, without limitation, as
                      a result of natural disaster, fire, flood, general strike, war, armed
                      conflict, terrorist attack or nuclear or chemical contamination, we may
                      terminate this Agreement with Immediate effect. In such event, our
                      obligation to make payment ofthe Guaranteed Minimum shall be null and
                      void and we shall have no other liability to you. "

               25.    On June 4, 2020, Plaintiff received, by mail, the Unlawful Termination

Letter signed by Defendant. The postmark on the envelope containing the Unlawful Termination

Letter is dated June 2, 2020. Pursuant to Paragraph 17(d) of the Stingel Guarantee Agreement,

the Unlawful Termination Letter is deemed to have been received by Plaintiff on June 9, 2020.




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               26.     Plaintiff would not have entered into the Basquiat Guarantee Agreement

unless Defendant entered into the Stingel Consignment With Guarantee Agreement. Had

Plaintiff known that Defendant would not comply with its guarantee obligations to Plaintiff

pursuant to the Stingel Consignment With Guarantee Agreement, Plaintiff would never have

executed the Basquiat Guarantee Agreement. The first paragraph of the Basquiat Guarantee

Agreement quoted in footnote 5 above, expressly recognizes and acknowledges that Plaintiff

would not have executed the Basquiat Guarantee Agreement had it known that Defendant would

not comply with its guarantee obligations to Plaintiff pursuant to the Stingel Consignment With

Guarantee Agreement.

               27.     In paragraph 9 of the Amendment, all of the amendments to Paragraph 12

of the Stingel Consignment With Guarantee Agreement (titled "Settlement") are grouped

together. Paragraph 9(a)(v-vi) of the Amendment also amends Paragraph 12(i) of the Stingel

Consignment With Guarantee Agreement (titled "Settlement").

               28.     During negotiations of the Amendment, Defendant falsely induced

Plaintiff and MFI to execute the Amendment as Annette Schwaer ("Schwaer"), Plaintiffs Chief

Financial Officer, who signed the Amendment on behalf of Defendant, repeatedly represented to

MFI that Plaintiff has never before invoked a termination clause such as Paragraph 12(a) of the

Stingel Consignment With Guarantee Agreement (titled "Termination"). Schwaer specifically

referenced the September 11, 2001 attacks and declared that Plaintiff did not invoke such a

clause even in the aftermath of those tragic events.




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                      AS AND FOR A FIRST CAUSE OF ACTION
       (Defendant's Breach of the Stingel Consignment With Guarantee Agreement)

                29.    Plaintiff repeats and realleges all of the foregoing allegations as if fully set

forth herein.

                30.    At all times herein mentioned, Plaintiff was ready, willing, and able to

perform the terms and conditions of the Stingel Consignment With Guarantee Agreement and

did perform all the terms and conditions of the Stingel Consignment With Guarantee Agreement

required to be performed on Plaintiffs part.

                31.    Plaintiff fully performed the Basquiat Guarantee Agreement. As a result

of Plaintiffs full compliance of its obligations pursuant to the Basquiat Guarantee Agreement,

Defendant and/or Friedland received the proceeds of the auction with costs and a buyer's

premium fee for a total sum of GBP £3,802,000.00. If Plaintiff had not bid at the auction, upon

information and belief, no other bidder would have participated in the auction of the Basquiat

Painting and it would not have sold for the total Hammer Price plus the buyer's premium

totaling GBP £3,842,000.00 of which Defendant received GBP £3,802,000.00.

                32.   Plaintiff breached the Stingel Consignment With Guarantee Agreement in,

inter alia, the following enumerated respects, each of which constitutes an individual breach of

the Stingel Consignment With Guarantee Agreement.

A.     Defendant Did Not Obtain Plaintiff's Written Consent
       to Reschedule The May 2020 Auction

                33.   Pursuant to Paragraphs 6(a)(i) and/or 17(b) of the Stingel Consignment

With Guarantee Agreement quoted above, Defendant was required to obtain Plaintiffs written

consent to reschedule the May 2020 auction to June 2020 or any date thereafter. Defendant did




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not obtain Plaintiff's written consent to reschedule the May 2020 auction to June 2020 or any

date thereafter and therefore breached the Stingel Consignment With Guarantee Agreement.

B.      Defendant and Its Unlawful Termination Letter
        Did Not Seek Or Obtain Plaintiff's Written Consent

                34.     Defendant's Unlawful Termination Letter provides in pertinent part: "Due

to these circumstances and the continuing government orders, we have been prevented from

holding the Auction and have had no choice but to postpone the Auction beyond its planned May

2020 date. 11 Defendant never obtained Plaintiffs prior written consent to change the auction to a

date later than May 2020 as required by Paragraphs 6(a)(i) and 17(b) of the Stingel Consignment

With Guarantee Agreement and therefore breached the Stingel Consignment With Guarantee

Agreement.

C.      The Legal Doctrine of Ejusdem Generis

               35.      Pursuant to, inter alia, the legal doctrine of ejusdem generis, viz., words

constituting general language of excuse are not to be given the most expansive meaning possible,

but are held to apply only to the same general kind or class as those specifically mentioned, the

circumstance of the COVID-19 virus is definitively not in the same class or kind of the specific

events stated in Paragraph 12(a), i.e. "natural disaster, fire, flood, general strike, war, armed

conflict, terrorist attack or nuclear or chemical contamination." Such clause is not applicable,

and by invocating it, and/or using it as a pretext to not perform, Defendant breached the Stingel

Consignment With Guarantee Agreement.

D.     Defendant Is Disingenuously Using COVID-19 As a Pretext To Breach

               36.     Defendant is proceeding with its "major spring 2020 evening auction of

20th Century & Contemporary Art" (par. 6(a) Stingel Consignment With Guarantee Agreement)

presently scheduled for July 2, 2020-see par. 48 below. Upon information and belief,



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Defendant is not cancelling its other guarantee agreements or its other consignment with

guarantee agreements.

                 3 7.   Defendant is unlawfully terminating the Stingel Consignment With

Guarantee Agreement, which has been in existence for nearly a year and has been fully

performed by Plaintiff and Plaintiff has fully performed the Basquiat Guarantee Agreement on

June 27, 2019.

                 38.    Defendant's unlawful termination of the Stingel Consignment With

Guarantee Agreement is not based on an alleged force majeure provision or on COVID-19.

Defendant is making a commercial decision to illegally terminate a contract based on its belief

that the current commercial market for works of art by Rudolf Stingel, is not strong. Defendant

is disingenuously using COVID-19 as a false pretext for an unlawful termination. This is not a

COVID-19 situation and COVID-19 is not specifically included in par. 12(a) titled

"Termination."

                 39.    Defendant is illegally applying force majeure in a discriminatory manner,

by, inter alia, unlawfully picking and choosing which contractual commitments it does not want

to perform. Defendant selectively and prejudicially terminated the guarantee but not the auction

because of the guarantee provision in Stingel Consignment With Guarantee Agreement which

required Defendant to pay Plaintiff the Guaranteed Minimum in the sum of USD $5,000,000.00.

However, Defendant is proceeding with its other consignments for its Evening Auction5 sale

scheduled for July 2, 2020 and November, 2020 and upon information and belief is not

cancelling any other consignment agreements for its Evening Auction sales.




5The term "Evening Auction" means Defendant's major evening auction sales of contemporary
works of art which take place bi-annually in May and November.


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               40.     Defendant continues to offer Plaintiff participation in the evening July,

2020 and November, 2020 auction sales in a proposed stripped down agreement which does not

contain a guarantee provision. This action by Defendant confirms that its reason for referencing

the force majeure provision in the Unlawful Termination Letter, was legally baseless as

Defendant is proceeding with the July and November, 2020 auction sales but offering Plaintiff a

stripped down version of the Stingel Consignment With Guarantee Agreement without the

guarantee.

E.     Defendant's Unlawful WhatsApp Notice

               41.    Pursuant to the Notice Provision in Paragraph 17(d) of the Stingel

Consignment With Guarantee Agreement quoted above, "Notices shall be deemed to have been

given five (S) calendar days after mailing to the address referred to above or within one (1)

business day of delivery by hand, email. or facsimile." (emphasis supplied).

               42.    Defendant's alleged WhatsApp message, sent by Defendant to Plaintiff on

June 1, 2020, is not a legally valid notice as a WhatsApp message is neither delivery by mail,

hand, email nor facsimile as required by Paragraph 17(d) of the Stingel Consignment With

Guarantee Agreement. By not giving appropriate notice, Defendant breached the Stingel

Consignment With Guarantee Agreement.

F.     Defendant Has Not Been Prevented From Holding The Auction

              43.     Defendant's statement in its Unlawful Termination Letter that "Due to

these circumstances and the continuing government orders, we have been preve11ted from

holding the Auction" is a falsehood and a breach of the Stingel Consignment With Guarantee

Agreement.




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               44.    Defendant's website https://www.phillips.com has advertised many online

auctions held by Defendant as a result of the COVID-1 9 virus, including without limitation the

following online auctions:

                      1.      Online Auction for May 20 - May 28, 2020 titled "REFRESH:
                              RELOAD Online Auction;"

                      ii.     Online Auction for May 1 3 - May 2 1 titled "Happy Hour: Online
                              Auction;"

                      iii.    Online Auction for May 1 3 - May 21 titled "Shaping the Surface:
                              Online Auction;"

                      IV.     Online Auction for April 2 - May 7, 2020 titled "April Showers:
                              Online Auction;"

                      v.      Online Auction for April 29 - May 7, 2020 titled "Bloom: Online
                              Auction;"

                      v1.     Online Auction for April 22 - April 3 0, 2020 titled "Hard-Edged:
                              Online Auction;"

                      vii.    Online Auction for April 22 - April 30, 2020 titled "Habitat:
                              Online Auction;"

                      v111.   Online Auction for April 1 5 - April 23, 2020 titled "Desktop:
                              Online Auction;"

                      IX.     Online Auction for April 1 5 - April 23, 2020 titled "Current
                              Mood: Online Auction."

                      x.      Online Auction for April 8 - April 1 6, 2020 titled "Editions
                              Online;"

                      x1.     Online Auction for May 26 - June 4, 2020 titled "connect /reflect/
                              COLLECT a selection of contemporary art Online Auction."


               45 .   Phillip's website contains an online bidding guide and also an online

viewmg room.




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               46.     Defendant offers no explanation whatsoever, as to why it could not

include the Stingel Work in any of the foregoing sampling of its online auctions.

               47.     Defendant's website presently advertises two online auctions for its

Contemporary Art department for the period May 26, 2020 to June 4, 2020, and June 5 to June

15, 2020 with an online viewing room. Again, Defendant offers no explanation whatsoever, as

to why it will not or could not include the Stingel Work in any of its May 26, 2020 to June 4,

2020, and June 5 to June 15, 2020 online auctions.

               48.     Defendant's website presently advertises three auctions for its 20th

Century & Contemporary Art department to take place on July 2, 2020, viz., a morning auction

commencing at 10:00 AM., an afternoon auction commencing at 2:00 P.M., and a late afternoon

auction commencing at 5:00 P.M. Again, Defendant has no explanation as to why it cannot

include the Stingel Work in any of the three auctions taking place on July 2, 2020.

               49.     Hundreds of owners of works of art have consigned their works of art to

Plaintiff for inclusion in the foregoing multiple online auctions and the three in-person auctions

scheduled for July 2, 2020.

               50.     Defendant's multiple past and future online and in-person Contemporary

Art evening auctions in which the Stingel Work could have been auctioned, demonstrates a

breach of the Stingel Consignment With Guarantee Agreement.

G.     The Judicial Relief Sought By Plaintiff As A Result of Defendant's Multiple
       Breaches of the Stingel Consignment With Guarantee Agreement

               51.     Despite due demand, Defendant has, inter alia, refused to comply with its

obligations pursuant to the Stingel Consignment With Guarantee Agreement and the Basquiat

Guarantee Agreement.




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        i.   Specific Performance

                52.     Plaintiff has performed the obligations on its part pursuant to the Stingel

Consignment With Guarantee Agreement and the Basquiat Guarantee Agreement.

                53.     Defendant's continuing refusal to comply with its obligations pursuant to

the Stingel Consignment With Guarantee Agreement and/or the Basquiat Guarantee Agreement

is a continuing breach of the Stingel Consignment With Guarantee Agreement and/or the

Basquiat Guarantee Agreement.

                54.    Plaintiff has suffered irreparable injury from Defendant's breaches of the

Stingel Consignment With Guarantee Agreement and/or the Basquiat Guarantee Agreement and

will continue to suffer such injury unless the Court specifically enforces the Stingel Consignment

With Guarantee Agreement with a mandatory injunction requiring Defendant to, inter alia:

               1.      Auction the Stingel Work at Defendant's next online or in-person auction
                       of Contemporary Art;

               11.     If the Hammer Price is less than or equal to the Guaranteed Minimum,
                       Plaintiff shall forthwith pay Plaintiff the Guaranteed Minimum;

               111.    If the Hammer Price is more than the Guaranteed Minimum, Plaintiff shall
                       receive 80% of the amount by which the Hammer Price exceeds the
                       Guaranteed Minimum; and

               1v.     An Order adjudging and declaring that the Termination Letter, which,
                       inter alia, purports to terminate that Stingel Consignment With Guarantee
                       Agreement, is null and void, and of no legal force or effect.

               55.     Monetary damages are not sufficient to provide a full and complete

remedy to Plaintiff, as, inter alia, Plaintiff is entitled to receive 80% of the amount by which the

Hammer Price exceeds the Guaranteed Minimum and Plaintiff cannot calculate the amount of

the 80% unless and until an auction of the Stingel Work has actually occurred.




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                56.     Defendant is capable of performing its obligations pursuant to the Stingel

Consignment With Guarantee Agreement.

                57.     The balance of the equities tips sharply in Plaintiffs favor and the

issuance of a mandatory injunction.

                58.    The public interest would not be disserved by entry of the specific

performance injunctive relief requested in this Complaint.

                59.    Plaintiff has demonstrated a likelihood of success on the merits.

                60.    Plaintiff is therefore entitled to specific performance of Defendant's

obligations pursuant to the Stingel Consignment With Guarantee Agreement.


        ii.    Monetary Damages

               61.     In the event the Court will not grant specific performance by Defendant of

the Stingel Consignment With Guarantee Agreement, Plaintiff has been damaged in a sum no

less than $7,000,000.00, the precise amount to be proven at trial, with appropriate legal interest,

including, without limitation, all consequential and incidental damages related thereto and

additional damages for the additional interest payments from Plaintiff to MFI on the loan from

MFI to Plaintiff pursuant to the Loan and Security Agreement, which loan would have been paid

off by Plaintiff by August 2020 had Defendant not breached the Stingel Consignment With

Guarantee Agreement.

               62.     Plaintiff is further entitled to punitive damages in a sum not less than

$10,000,000.00 (ten million dollars) as Defendant's conduct evidenced a high degree of moral

culpability and/or was so flagrant and/or so willful, wanton and/or negligent or recklessness as to

imply a criminal indifference to civil obligations.




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                              AS AND FOR A SECOND CAUSE OF ACTION
                         (Defendant's Breach of the Basquiat Guarantee Agreement)

                   63.       Plaintiff repeats and realleges all of the foregoing allegations as if fully set

forth herein.

                    64.      The first paragraph of the Basquiat Guarantee Agreement provides that

Plaintiffs execution of the Basquiat Guarantee Agreement is co11ditioned upon the following

three events-see paragraph 9 above for the full quote:

                   1.        The execution of the Stingel Consignment With Guarantee Agreement;

                   11.       And the Stingel Work being offered for sale by Defendant;

                   111       And, that Defendant shall pay Plaintiff the Guaranteed Minimum, i.e.
                             USD $5,000,000.00.

                   65.       At all times herein mentioned, Plaintiff was ready, willing, and able to

perform the terms and conditions of the Basquiat Guarantee Agreement and did perform all the

terms and conditions of the Basquiat Guarantee Agreement required to be performed on

Plaintiffs part.

                   66.       As a result of Plaintiffs full performance of its obligations pursuant to the

Basquiat Guarantee Agreement, Defendant and/or Friedland received the entire proceeds of the

auction with costs and a buyer's premium fee for a total sum of GBP £3,802,000.00. If Plaintiff

had not bid at the auction, upon information and belief, no other bidder would have participated

in the auction of the Basquiat Painting and it would not have sold for the total Hammer Price

plus the buyer's premium totaling GBP £3,842,000.00 of which Defendant received GBP

£3,802,000.00.




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A.     The Judicial Relief Sought By Plaintiff As A Result of Defendant's Breach
       of the Basquiat Guarantee Agreement

               67.     Despite due demand, Defendant has, inter alia, refused to comply with its

obligations pursuant to the Basquiat Guarantee Agreement and/or the Stingel Consignment With

Guarantee Agreement.

       i. Specific Performance

               68.     Plaintiff has performed the obligations on its part pursuant to the Basquiat

Guarantee Agreement.

               69.     Defendant' s continuing refusal to comply with its obligations pursuant to

the Basquiat Guarantee Agreement and/or the Stingel Consignment With Guarantee Agreement

is a continuing breach of the Basquiat Guarantee Agreement and/or the Stingel Consignment

With Guarantee Agreement.

               70.    Plaintiff has suffered irreparable injury from Defendant's breaches of the

Basquiat Guarantee Agreement and/or the Stingel Consignment With Guarantee Agreement

and/or and will continue to suffer such injury unless the Court specifically enforces the Basquiat

Guarantee Agreement with a mandatory injunction requiring Defendant to, inter alia:

               1.     Auction the Stingel Work at Defendant's next online or in-person auction
                      of Contemporary Art;

               11.    If the Hammer Price is less than or equal to the Guaranteed Minimum,
                      Plaintiff shall forthwith pay Plaintiff the Guaranteed Minimum;

               111.   If the Hammer Price is more than the Guaranteed Minimum, Plaintiff shall
                      receive 80% of the amount by which the Hammer Price exceeds the
                      Guaranteed Minimum; and

               iv.    An Order adjudging and declaring that the Termination Letter, which,
                      inter alia, purports to terminate that Stingel Consignment With Guarantee
                      Agreement, is null and void, and of no legal force or effect.




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                71.     Monetary damages are not sufficient to provide a full and complete

remedy to Plaintiff, as, inter alia, Plaintiff is entitled to receive 80% of the amount by which the

Hammer Price exceeds the Guaranteed Minimum and Plaintiff cannot calculate the amount of

the 80% unless and until an auction of the Stingel Work has actually occurred.

                72.     Defendant is capable of performing its obligations pursuant to the

Basquiat Guarantee Agreement and/or the Stingel Consignment With Guarantee Agreement.

                73.     The balance of the equities tips sharply in Plaintiffs favor and for the

issuance of a mandatory injunction.

                74.     The public interest would not be disserved by entry of the specific

performance injunctive relief requested in this Complaint.

                75.     Plaintiff has demonstrated a likelihood of success on the merits.

                76.     Plaintiff is therefore entitled to specific performance of Defendant's

obligations pursuant to the Basquiat Guarantee Agreement.


        ii.    Monetary Damages

                77.    In the event the Court will not grant specific performance by Defendant of

the Basquiat Guarantee Agreement and the Stingel Consignment With Guarantee Agreement,

Plaintiff has been damaged in a sum no less than $7,000,000.00, the precise amount to be proven

at trial, with appropriate legal interest, including, without limitation, all consequential and

incidental damages related thereto and additional damages for the additional interest payments

from Plaintiff to MFI on the loan from MFI to Plaintiff pursuant to the Loan and Security

Agreement, which loan would have been paid off by Plaintiff by August 2020 had Defendant not

breached the Basquiat Guarantee Agreement.




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               78.     Plaintiff is further entitled to punitive damages in a sum not less than

$10,000,000.00 (ten million dollars) as Defendant's conduct evidenced a high degree of moral

culpability and/or was so flagrant and/or so willful, wanton and/or negligent or recklessness as to

imply a criminal indifference to civil obligations.


                                 RESERVATION OF RIGHTS

               This Complaint is without any prejudice whatsoever to, and Plaintiff reserves all

of its rights to, amend this Complaint to include causes of action for fraud and/or fraudulent

inducement, as discovery in this action progresses.

                                        JURY DEMAND

               Plaintiff demands a jury for all non-equitable claims stated herein.



       WHEREFORE, Plaintiff demands judgment as follows:

               a.      On the First Cause of Action, issuing a permanent injunction specifically
                       enforcing the Stingel Consignment With Guarantee Agreement.

                      In the event the Court will not issue a permanent mandatory injunction, a
                      judgment for a sum no less than $7,000,000.00, the precise amount to be
                      proven at trial, with appropriate legal interest, including, without
                      limitation, all consequential and incidental damages related thereto and
                      additional damages for the additional interest payments from Plaintiff to
                      MFI on the loan from MFI to Plaintiff pursuant to the Loan and Security
                      Agreement, which loan would have been paid off by Plaintiff by August
                      2020 had Defendant not breached the Basquiat Guarantee Agreement.
                      Plaintiff is further entitled to exemplary damages in a sum to be
                      determined at trial. Plaintiff is further entitled to exemplary damages in a
                      sum no less than $10,000,000.00, the precise amount to be determined at
                      trial;

               b.      On the Second Cause of Action, issuing a permanent injunction
                       specifically enforcing the Basquiat Guarantee Agreement.

                      In the event the Court will not issue a permanent mandatory injunction, a
                      judgment for a sum no less than $7,000,000.00, the precise amount to be
                      proven at trial, with appropriate legal interest, including, without


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                  limitation, all consequential and incidental damages related thereto and
                  additional damages for the additional interest payments from Plaintiff to
                  MFI on the loan from MFI to Plaintiff pursuant to the Loan and Security
                  Agreement, which loan would have been paid off by Plaintiff by August
                  2020 had Defendant not breached the Basquiat Guarantee Agreement.
                  Plaintiff is further entitled to exemplary damages in a sum to be
                  determined at trial. Plaintiff is further entitled to exemplary damages in a
                  sum no less than $10,000,000.00, the precise amount to be determined at
                  trial; and

            c.    Such other and further relief as the Court may deem just and proper.


Dated: New York, New York
       June 8, 2020

                                 AARON RICHARD GOLUB, ESQUIRE, P.C.


                                  yA s. q�
                                 Attorney for Plaintiff



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